  

Case 2:05-cr-20051-BBD Document 18 Filed 05/31/05 Page lof2 PagelD 19 f

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FoR THE wEsTERN DisTRlcT oF TENNEssEE 95 gm 31 FH 3, w
wEsTERN DlvlsloN

 

uNlTED sTATEs oF AMERICA ' "'“"""'”H‘S
Plaintiff
vs.
CR. No. 05-20051-0
JosEPH JoRDAN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the oase.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursda)(l Ju|y 21, 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor of the
Federa| Building, Nlemphis, TN.

 

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

|T lS SO ORDERED thiSt_ if day Of l\/|ay, 2005.

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'i'his dcct.ment entered on the docket sheet in compliance
with nine 55 and/or azrbi Fnch on \~P' '

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UNITED sATE DISTRICT COURT - WTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20051 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

